                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                          ABINGDON DIVISION

  MARK ANTHONY HAIRSTON,                         )
                                                 )
                   Plaintiff,                    )     Case No. 1:18CV00003
                                                 )
  v.                                             )     OPINION AND ORDER
                                                 )
  ROYAL BUILDING PRODUCTS, INC.,                 )     By: James P. Jones
                                                 )     United States District Judge
                    Defendant.                   )


        Thomas E. Strelka, Strelka Law Office, PC, Roanoke, Virginia, for Plaintiff;
  Yvette V. Gatling, Littler Mendelson, P.C., McLean, Virginia, for Defendant.

        In this employment discrimination case, the plaintiff asserts claims of race-

  based discrimination, retaliation, and hostile environment harassment under Title

  VII of the Civil Rights Act of 1964 (Title VII) and 42 U.S.C. § 1981. The

  defendant has moved for summary judgment on all of the claims. I conclude that

  genuine issues of material fact preclude the entry of summary judgment, and I will

  therefore deny the defendant’s motion.

                                           I.

        Summary judgment is warranted “if the movant shows that there is no

  genuine dispute as to any material fact and the movant is entitled to judgment as a

  matter of law.” Fed. R. Civ. P. 56(a). A fact is material if its existence or non-

  existence could result in a different jury verdict. JKC Holding Co. v. Wash. Sports



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  Ventures, Inc., 264 F.3d 459, 465 (4th Cir. 2001). When ruling on a summary

  judgment motion, the court should consider the parties’ pleadings, depositions,

  answers to interrogatories, admissions on file, and affidavits. Celotex Corp. v.

  Catrett, 477 U.S. 317, 322 (1986).

        “[C]ourts may not resolve genuine disputes of fact in favor of the party

  seeking summary judgment.”         Tolan v. Cotton, 572 U.S. 650, 656 (2014).

  “Summary judgment cannot be granted merely because the court believes that the

  movant will prevail if the action is tried on the merits.” Jacobs v. N.C. Admin.

  Office of the Courts, 780 F.3d 562, 568 (4th Cir. 2015) (quoting 10A Charles Alan

  Wright et al., Federal Practice & Procedure § 2728 (3d ed. 1998)). The court may

  not assess credibility on a motion for summary judgment. Id. at 569.

        “Only evidence that would be admissible at trial may be considered for

  summary judgment purposes.” Hunter v. Prince George’s Cty., 36 F. App’x 103,

  106 (4th Cir. 2002) (unpublished). 1 “[H]earsay evidence, which is inadmissible at

  trial, cannot be considered on a motion for summary judgment.” Md. Highways

  Contractors Ass’n v. Maryland, 933 F.2d 1246, 1251 (4th Cir. 1991). The burden

  is on the proponent of summary judgment material to show its admissibility. Fed.

  R. Civ. P. 56(c)(1)(B) advisory committee’s note to 2010 amendment.



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           RBP has not objected to my consideration of any of the plaintiff’s evidence on
  the ground that it would not be admissible at trial.
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        Rule 56 requires a party to support its assertion of facts by “citing to

  particular parts of materials in the record, including depositions, documents,

  electronically stored information, affidavits or declarations, stipulations (including

  those made for purposes of the motion only), admissions, interrogatory answers, or

  other materials.” Fed. R. Civ. P. 56(c)(1)(A). To the extent that the plaintiff’s

  brief contains unsupported assertions, I will not consider them in deciding the

  Motion for Summary Judgment.          The recitation of the facts set forth below

  includes only those facts found in the record in evidence that would likely be

  admissible at trial.

                                            II.

        The following facts taken from the summary judgment record are either

  undisputed or, where disputed, are stated in the light most favorable to the plaintiff.

        The plaintiff, Mr. Hairston, is black.      Beginning in February 2015, he

  worked for defendant Royal Building Products (RBP) as a Senior Human

  Resources Business Partner (Senior HRBP) at its Marion, Virginia, and Bristol,

  Tennessee, manufacturing facilities. At the time Hairston was hired, John Gargaro

  and Larry Peterson, both white, were Plant Managers. Although the decision to

  hire Hairston was ultimately made by RBP’s corporate office, Gargaro advocated

  against hiring Hairston and Peterson lobbied in favor of hiring Hairston.

  Hairston’s offer letter stated that he would be reporting to the Director of Human


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  Resources “with a dotted line relationship to plant management of our plants in

  Marion, Virginia and Bristol, Tennessee.” Def.’s Mem. Supp. Ex. 1 at 1, ECF No.

  95-2.

          Shortly after beginning his new role as Senior HRBP, Hairston met with

  black employees who worked in manufacturing roles at the Marion plant. These

  employees expressed to Hairston that they had experienced or witnessed racism at

  the plant. The employees specifically indicated that Gargaro and Plant Engineer

  Greg Brown, who was white, held racist views. Not long after Hairston began his

  employment with RBP, he received harassing phone calls at the plant in which an

  unidentified individual stated, “Nigger, you need to leave here.” Pl.’s Br. Opp’n

  Ex. 1, Hairston Dep. 187-88, ECF No. 113-1. Hairston reported the calls to his

  supervisor.

          Hairston’s initial supervisor was Director of Human Resources Stephen

  Ryan, who was based in Canada. For his new position, Hairston had to relocate

  from Martinsville, Virginia, to Abingdon, Virginia, which is situated between

  Bristol and Marion.      Hairston’s family remained several hours away in

  Martinsville. Hairston was initially allowed to use a company vehicle to travel

  from Abingdon to Martinsville during the relocation process, in accordance with

  company policy. Hairston became aware that Gargaro did not approve of Hairston

  using the company car to travel home to Martinsville, so Hairston only used the


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  company car for that purpose a handful of times. Caucasian employees were

  permitted to use the company car for relocation purposes for a much longer period

  of time than Hairston.

        Gargaro prevented Hairston from using a company vehicle to travel between

  the Marion and Bristol plants. Gargaro allowed white employees to freely use

  company vehicles for that purpose. Hairston sought from Ryan permission to hire

  a subordinate employee. Ryan granted him permission to do so, and Hairston hired

  someone.    This angered Gargaro, who then insisted that Hairston report his

  activities to Gargaro, despite the fact that Gargaro was not Hairston’s direct

  supervisor. At some point, Gargaro told Hairston that he was causing problems.

        Hairston was the only black management-level employee at the Marion and

  Bristol plants. At some point, Brown became the plant manager of the Bristol

  facility. Brown and Gargaro held weekly managers meetings to which they did not

  invite Hairston. When Hairston eventually learned of the meetings, he insisted that

  he be included in them, and he ultimately was. During a training event at RBP’s

  Columbus, Ohio, plant, Hairston was excluded from social activities by his white

  peers. John McKinnon, Gargaro’s supervisor, invited Gargaro and Brown to have

  dinner with him but did not invite Hairston, who was standing near them at the

  time McKinnon extended the invitation. The Senior HRBP position description

  stated that Hairston was supposed to spend “30% of the time operating as a


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  strategic partner to leaders, 40% of the time operating as an engagement partner,

  and the remaining 30% of the time handling employee relations.” Def.’s Mem.

  Supp. Ex. 3, ECF No. 95-4. Hairston felt that by excluding him, Gargaro, Brown,

  and McKinnon were refusing to partner with him and effectively preventing him

  from doing his job.

        Ryan gave Hairston permission to leave work in the early afternoon on

  Fridays so that he could travel back to Martinsville to spend the weekend with his

  family. Hairston would return to Abingdon on Sunday evenings and report to

  work promptly on Monday mornings.            Hairston’s white peers frequently

  complained to Ryan and his successor, Ted Marsh, that Hairston was absent. They

  falsely accused him of not being at work on Mondays and Fridays and complained

  that he was unavailable when he was in fact on site at the other plant. Ryan

  investigated these complaints and determined that they were unfounded. Gargaro,

  however, urged Ryan to terminate Hairston’s employment. On several occasions

  in 2016, Brown told Hairston that Gargaro did not like black people and was trying

  to get Hairston terminated because he was black.

        While Ryan was investigating complaints regarding Hairston’s attendance

  and availability, Ryan and Hairston went out to dinner together. Hairston related

  to Ryan that he felt he was being subjected to a hostile work environment by

  Gargaro and Brown.       Company policy provided that an employee’s direct


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  supervisor was an appropriate person to whom to report racial discrimination,

  retaliation, and harassment.    Hairston told Ryan that Gargaro had purposely

  excluded him from meetings and that he had heard from others that Gargaro had

  called him a “nigger” and did not like black people. Hairston Dep. 121, ECF No.

  113-1. Ryan expressed sympathy and said that he would protect Hairston.

        In December 2016 at a company awards dinner, Brown and Maintenance

  Manager Randall Jacobson approached Hairston and commented about police

  lights outside the venue. Brown remarked that Hairston “better go move [his] car,

  . . . because the police don’t like blacks,” and Brown added, “you know the police

  beat blacks.” Id. at 139.

        In December 2016, Hairston complained to Ryan and then Marsh that he felt

  he was being subjected to a racially hostile working environment. Ben Adams, a

  white managerial employee, had told Hairston that Brown had referred to Hairston

  as a “nigger” in a text message and had otherwise disparaged Hairston on account

  of his race. Id. 133-34. Hairston relayed this information to Ryan and Marsh. In

  January 2017, shortly after Marsh became Hairston’s supervisor, Marsh responded

  to Hairston’s complaints by suggesting that he “just leave and quit and move back

  home.” Id. 146. The record contains no evidence that Ryan or Marsh investigated

  Hairston’s complaints of harassment or Brown’s alleged use of a racial slur prior to

  Hairston’s termination.


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         RBP asserts that Hairston was terminated as part of a reduction in force

  because the human resources department was overstaffed due to the acquisition of

  RBP’s parent corporation by Westlake Chemical Corporation (Westlake). It has

  conceded, however, that Hairston was the only person whose position was

  eliminated as part of that particular restructuring.2                Hairston, whose job

  responsibilities as Senior HRBP had included participating in terminations,

  testified in his deposition that reductions in force were essentially pretexts used to

  terminate undesired employees or to shift employees to preferred roles.

         On February 21, 2017, Marsh, an employee of Westlake, told Hairston that

  Hairston’s employment was being terminated due to a reduction in force. Marsh

  testified that Hairston was chosen as the HRBP to be terminated through the use of

  a slating process, but the metrics used in the slating process were subjective and

  substantially relied on input from Gargaro and Brown. Marsh testified, “What I

  did was ask them just in general questions: How does Mr. Hairston do, you know,


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             Counsel for RBP made this concession in a hearing before Magistrate Judge
  Sargent. In support of its Motion for Summary Judgment, however, RBP has submitted
  an affidavit of Marsh stating that another employee named Maggie Webb, a white
  female, was also terminated as part of the same restructuring of the human resources
  department. RBP’s counsel has represented to the court that she did not actually intend to
  concede that the plaintiff was the only person terminated in the restructuring. For the
  purpose of deciding the Motion for Summary Judgment, I must view the evidence in the
  light most favorable to the plaintiff. At a minimum, counsel’s apparent concession
  before Judge Sargent creates a dispute of fact as to whether the plaintiff was the only
  person terminated in the purported reduction in force. Drawing all inferences in the
  plaintiff’s favor, as I must at this procedural juncture, I will consider the plaintiff to have
  been the only member of the human resources department terminated in the restructuring.
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  what does he do, how does he do it, those type of questions, what’s been your

  experience that he’s supporting both of you as plant managers, et cetera.” Def.’s

  Mem. Supp. Ex. 10, Marsh Dep. 37, ECF No. 95-11.

        Marsh testified that Hairston had scored lower than the other employees on

  the managerial metric. At the time Marsh sought feedback regarding Hairston’s

  performance, he was aware of Hairston’s complaints that Brown and Gargaro had

  been subjecting him to a racially hostile work environment. Not long before

  Marsh conducted the slating process, Ryan had told Marsh that Hairston was “a

  good HR business partner, that he had a good relationship with a lot of people in

  the plant, especially frontline supervisors and employees on the shop floor.” Pl.’s

  Br. Opp’n Ex. 2, Ryan Dep. 15, ECF No. 113-2. Ryan had also told Marsh that

  there was tension between Hairston and Brown and that other supervisors also

  experienced tension with Brown.

        The individuals involved in the slating process included the plant managers

  for the Bristol and Marion plants, the director of manufacturing, the group vice

  president, Marsh, the talent management director, internal counsel, and the vice

  president of human resources. According to Marsh, no one individual had sole

  authority for terminating Hairston. Rather, pursuant to a delegation of authority

  document, Marsh solicited input and made a recommendation which was then




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   approved by both the director of talent management and internal legal counsel Joel

   Gray.

           Four people were assessed through the slating process, and Hairston

   received the lowest score. The other three people were white. The highest scoring

   person, Kim Agner, was selected to fill the newly created role of Manager —

   Human Resources. There is some dispute about whether this new role was a

   promotion or lateral move for Agner.

           Adams testified that shortly after Hairston was terminated, Brown made a

   statement to the effect of “‘we’re finally rid of the [nigger],’ or ‘they finally got rid

   of the [nigger],’ or ‘we’re finally done with the [nigger].’” Pl.’s Br. Opp’n Ex. 4a,

   Adams Dep. 12, ECF No. 113-7.             Adams reported the comment to human

   resources, and Brown was ultimately terminated approximately two months after

   Hairston’s termination. Brown’s use of the racial slur was one reason for his

   termination.

           RBP had an Equal Employment Opportunity and Harassment Policy, which

   Hairston acknowledged receiving at the beginning of his employment.                After

   Westlake acquired RBP, Hairston received a copy of Westlake’s Code of Conduct,

   which contained several provisions related to employment discrimination and

   harassment. The Code of Conduct states that “[a]ny form of harassment including

   unlawful harassment based on race” is “unacceptable.” Def.’s Mem. Supp. Ex. 5


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   at 3, ECF No. 95-6. The Code encourages employees to “report your concerns to

   your immediate supervisor, manager, any Human Resources Representative or the

   Office of the General Counsel.” Id. at 5. The Code prohibits managers from

   taking retaliatory action against anyone who reports a concern about unethical or

   illegal conduct. In a section entitled Equal Employment Opportunity, the Code

   states, “It is Westlake’s policy to ensure equal employment and advancement

   opportunity for all qualified individuals without distinction or discrimination

   because of race . . . .” Id. at 15. The next section, entitled Harassment, states that

   “Westlake will not tolerate any harassment of any kind.” Id. at 16. It further

   reads,

            Complaints about harassment by a Westlake employee or any other
            person with whom Westlake does business can be made to My Safe
            Workplace, your supervisor, the Human Resources department and/or
            the Office of the General Counsel of Westlake. You may choose any
            of these alternatives to make a complaint and you do not need to
            complaint to the person who you feel is harassing you.
                   Any complaints will be promptly, fairly and thoroughly
            investigated consistent with the law, including following any
            requirements under collective agreement or regulation. There will be
            no retaliation for truthfully reporting harassment or participating in
            Westlake’s investigation of a complaint.

   Id.




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                                              III.

                               A. Discriminatory Discharge.

         Title VII prohibits an employer from discriminating against an employee

   based on the employee’s race. See 42 U.S.C. § 2000e–2(a)(1). 3 There are two

   alternative methods of stating a Title VII claim for discrimination: the mixed-

   motive framework, in which “it is sufficient for the individual to demonstrate that

   the employer was motivated to take the adverse employment action by both

   permissible and forbidden reasons”; or the pretext framework, “under which the

   employee, after establishing a prima facie case of discrimination, demonstrates that

   the employer’s proffered permissible reason for taking an adverse employment

   action is actually a pretext for discrimination.” Hill v. Lockheed Martin Logistics

   Mgmt., Inc., 354 F.3d 277, 284, 285 (4th Cir. 2004) (citing McDonnell Douglas

   Corp. v. Green, 411 U.S. 792, 807 (1973)). Under either theory, “[t]he ultimate

   question in every employment discrimination case involving a claim of disparate

   treatment is whether the plaintiff was the victim of intentional discrimination.”

   Hill, 354 F.3d at 286 (quoting Reeves v. Sanderson Plumbing Prods., Inc., 530

   U.S. 133, 153 (2000)).
         3
             Section 1981 “affords no greater substantive protection than Title VII.” Netter
   v. Barnes, 908 F.3d 932, 937 n.1 (4th Cir. 2018) (citation omitted); see also Guessous v.
   Fairview Prop. Invs., LLC, 828 F.3d 208, 216 (4th Cir. 2016) (explaining that standards
   developed for Title VII are regularly applied to § 1981 discrimination and retaliation
   claims). Therefore, the court’s analysis of Hairston’s Title VII claims will also apply to
   his corresponding § 1981 claims.

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         “Direct evidence must be evidence of conduct or statements that both reflect

   directly the alleged discriminatory attitude and that bear directly on the contested

   employment decision.” Warch v. Ohio Cas. Ins. Co., 435 F.3d 510, 520 (4th Cir.

   2006) (internal quotation marks and citation omitted). “Even if there is a statement

   that reflects a discriminatory attitude, it must have a nexus with the adverse

   employment action.”       Id.   “Isolated remarks unrelated to the challenged

   employment decision are insufficient to provide direct evidence of discrimination.”

   Finkle v. Howard Cty., 640 F. App’x 245, 248 (4th Cir. 2016) (unpublished).

         A plaintiff who has no direct evidence of discrimination can proceed under

   the McDonnell Douglas burden-shifting framework. Under McDonnell Douglas,

   the plaintiff has the initial burden of establishing a prima facie case of employment

   discrimination. In most cases, a prima facie case consists of proof that: (1) he is a

   member of a protected class; (2) he was qualified for his position and his

   performance was satisfactory; (3) he suffered an adverse employment action; and

   (4) he was replaced by an individual outside of the protected class. McDonnell

   Douglas, 411 U.S. at 802. In reduction-in-force cases, however, the prima facie

   case differs somewhat, particularly as to the final element. Because RBP contends

   that Hairston was terminated in a reduction in force, Hairston is “required to show

   that [his] job duties were absorbed by employees not in the protected class or




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   otherwise show that [RBP] did not treat [Hairston’s] protected characteristics

   neutrally when deciding to terminate [him].” Guessous, 828 F.3d at 219.

         Once the plaintiff establishes a prima facie case, the burden shifts to the

   defendant to respond with evidence that it had a legitimate, non-discriminatory

   reason for its action. Love-Lane v. Martin, 355 F.3d 766, 786 (4th Cir. 2004). If

   the defendant is able to make this showing, the burden shifts back to the plaintiff to

   present evidence that the defendant’s articulated reason was pretext for unlawful

   discrimination. Id. “Although the evidentiary burdens shift back and forth under

   the McDonnell Douglas framework, ‘[t]he ultimate burden of persuading the trier

   of fact that the defendant intentionally discriminated against the plaintiff remains at

   all times with the plaintiff.’” Id. (quoting Tex. Dep’t of Cmty. Affairs v. Burdine,

   450 U.S. 248, 253 (1981)).

         Here, Brown’s statement to Adams immediately after Hairston’s termination

   qualifies as direct evidence that racial discrimination played a role in the

   termination. RBP contends that Brown’s use of a racial slur to refer to Hairston is

   merely an isolated comment by a nondecisionmaker, but that is not an entirely

   accurate reading of the record.         Marsh testified that there was no sole

   decisionmaker with respect to Hairston’s termination. Brown was one of a handful

   of people who provided input to Marsh that resulted in Marsh giving Brown a low

   score on the slating document, which led to his termination. Hairston had a


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   “dotted-line relationship” to Brown, the plant manager of one of the two plants for

   which Hairston was responsible, suggesting that Brown had at least some

   supervisory authority over Hairston. Marsh, who collected the information for the

   slating process, had only known Hairston for a short time and was an employee of

   Westlake, not RBP. Brown and Gargaro were the managerial representatives of

   RBP who gave feedback that led to Hairston being given a low score on the slating

   document. And while Marsh may not have expressly told Brown why he was

   asking about Hairston, a jury could infer that Brown understood that Marsh, a

   senior human resources executive from the parent company that recently acquired

   RBP, was asking questions about Hairston’s performance in order to evaluate him

   for termination.   Moreover, Brown’s comment expressly referred not just to

   Hairston, but to his termination. I conclude that Brown’s statement is sufficient

   direct evidence of discrimination for Hairston to meet his burden of production and

   survive summary judgment as to Count I.

         Even if the comment were not direct evidence of discrimination, I conclude

   that Hairston has satisfied his initial and ultimate burden of production under the

   McDonnell-Douglas burden shifting test. As to the prima facie case, there is no

   dispute that Hairston is a member of a protected class and suffered an adverse

   employment action when he was terminated. Ryan’s testimony satisfies Hairston’s

   burden of establishing that he was performing satisfactorily. And of the four


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   employees who were considered in the slating process, the two who were allowed

   to keep their jobs and who absorbed Hairston’s duties were both outside of the

   protected class.

          RBP has offered a legitimate, nondiscriminatory reason for terminating

   Hairston: his position was eliminated in a reduction in force following RBP’s

   acquisition by Westlake. The burden therefore shifts back to Hairston to offer

   evidence from which a jury could conclude that RBP’s proffered reason was untrue

   and a pretext for race-based discrimination. He has met this burden. Based on

   Brown’s statement following Hairston’s termination, Ryan’s testimony that Brown

   and Hairston had a tense and unfriendly relationship, and Hairston’s own

   testimony about what Brown and others said to him, 4 reasonable jurors could find



          4
             RBP disregards most of Hairston’s testimony and argues that the court cannot
   consider the plaintiff’s self-serving statements when deciding a motion for summary
   judgment. But counsel for RBP misconstrues the law on this point. The Fourth Circuit
   has said that “a self-serving opinion . . . cannot, absent objective corroboration, defeat
   summary judgment.” Williams v. Giant Food Inc., 370 F.3d 423, 433 (4th Cir. 2004)
   (emphasis added). Here, Hairston is not offering his own opinions regarding his job
   performance or the reason for his termination. He can competently testify about events
   he witnessed and statements that company representatives made to him. Those are facts,
   not opinions. That other witnesses contradict aspects of his testimony simply creates
   factual disputes that must be resolved by a jury, which will have to assess the credibility
   of Hairston and of other witnesses. See Lee-Thomas v. Prince George’s Cty. Pub. Sch.,
   Civil Action No. DKC 15-2010, 2017 WL 2733802, at *6 (D. Md. June 26, 2017)
   (summarizing Fourth Circuit cases regarding plaintiffs’ self-serving affidavits and
   explaining that the general rule is “that a court should not weigh the credibility of
   testimony of one party against the testimony of another at the summary judgment stage,
   even if it is self-serving”). Additionally, Hairston’s testimony is corroborated at least in
   part by the testimony of Ryan and Adams, who confirm that Hairston was good at his job,
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   that the slating process was pretextual and that race-based discrimination was the

   real reason Hairston was terminated.

                                B. Retaliatory Discharge.

         To succeed on a claim of retaliation under Title VII, a plaintiff must prove

   three elements: “1) the employee engaged in protected activity; 2) the employer

   took adverse employment action against the employee; and 3) a causal connection

   existed between the protected activity and the adverse action.” Munday v. Waste

   Mgmt. of N. Am., Inc., 126 F.3d 239, 242 (4th Cir. 1997) (citation omitted).

   Protected activity includes complaints about race-based harassment that the

   employee reasonably believes is creating a hostile work environment. See Boyer-

   Liberto v. Fontainebleau Corp., 786 F.3d 264, 284 (4th Cir. 2015). Regarding the

   third element, “[a] plaintiff’s own self-serving opinions, absent anything more, are

   insufficient” to prove that an adverse employment action was linked to protected

   activity. Mackey v. Shalala, 360 F.3d 463, 469–70 (4th Cir. 2004). To establish

   causality, the protected activity “must have actually played a role in the employer’s

   decisionmaking process and had a determinative influence on the outcome.”

   Reeves, 530 U.S. at 141 (internal quotation marks, citation and alterations omitted).

   “It is the perception of the decision maker which is relevant to the question of

   retaliation . . . .” Tinsley v. First Union Nat’l Bank, 155 F.3d 435, 444 (4th Cir.

   that he had a strained relationship with Brown, and that Brown did in fact hold racist
   views and was happy when Hairston was terminated.
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   1998), abrogated on other grounds by Nat’l R.R. Passenger Corp. v. Morgan, 536

   U.S. 101 (2002).

         Here, the record evidence, viewed in the light most favorable to Hairston,

   establishes that Hairston engaged in the protected activity of reporting racial

   harassment to his direct supervisors. It is undisputed that his termination was an

   adverse employment action.        As to causation, there is evidence that Marsh

   recommended Hairston’s termination within two months of when Hairston

   complained to Marsh about what he perceived to be a racially hostile environment.

   Marsh had also allegedly responded to Hairston’s complaints by suggesting that

   Hairston resign.    While temporal proximity is not always sufficient to infer

   causation, in this case, I find that when coupled with Marsh’s alleged advice, the

   short length of time between Hairston’s complaints and his termination are enough

   to overcome RBP’s summary judgment motion on the retaliation claims.

                           C. Hostile Environment Harassment.

         The language of Title VII “is not limited to economic or tangible

   discrimination,” but also includes “requiring people to work in a discriminatorily

   hostile or abusive environment.” Harris v. Forklift Sys., Inc., 510 U.S. 17, 21

   (1993) (internal quotation marks and citations omitted). A hostile environment

   exists “[w]hen the workplace is permeated with discriminatory intimidation,

   ridicule, and insult that is sufficiently severe or pervasive to alter the conditions of


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   the victim’s employment and create an abusive working environment.”                    Id.

   (internal quotation marks and citations omitted). To prevail on a Title VII claim of

   a hostile work environment, “a plaintiff must show that there is (1) unwelcome

   conduct; (2) that is based on the plaintiff’s . . . race; (3) which is sufficiently severe

   or pervasive to alter the plaintiff’s conditions of employment and to create an

   abusive work environment; and (4) which is imputable to the employer.” Boyer–

   Liberto, 786 F.3d at 277 (internal quotation marks and citations omitted).

   “Whether the environment is objectively hostile or abusive is judged from the

   perspective of a reasonable person in the plaintiffs position,” and may be

   determined based on “the frequency of the discriminatory conduct; its severity;

   whether it is physically threatening or humiliating, or a mere offensive utterance;

   and whether it unreasonably interferes with an employee’s work performance.” Id.

   (internal quotation marks and citations omitted).

         I “must look at all the circumstances to determine whether a work

   environment is hostile or abusive.” Conner v. Schrader-Bridgeport Int’l, Inc., 227

   F.3d 179, 193 (4th Cir. 2000). Conduct directed to people other than the plaintiff

   can properly be considered in assessing as hostile environment claim, as the

   environment of workplace hostility “may exceed the individual dynamic between




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   the complainant and his supervisor.” 5 Spriggs v. Diamond Auto Glass, 242 F.3d

   179, 184 (4th Cir. 2001).       The Fourth Circuit has stated that “whether the

   harassment was sufficiently severe or pervasive to create a hostile work

   environment is quintessentially a question of fact for the jury, as is the issue of the

   plaintiff’s credibility.” Conner, 227 F.3d at 199–200 (internal quotation marks and

   citations omitted).

         Fourth Circuit precedent clearly establishes that the use of the word “nigger”

   in the workplace is severe. “Far more than a ‘mere offensive utterance,’ the word

   ‘nigger’ is pure anathema to African–Americans. ‘Perhaps no single act can more

   quickly alter the conditions of employment and create an abusive working

   environment than the use of an unambiguously racial epithet such as ‘nigger’ by a

   supervisor in the presence of his subordinates.’” Spriggs, 242 F.3d at 185 (and

   citation omitted).

         I conclude that Hairston has offered sufficient evidence of a racially hostile

   work environment to allow a jury to decide whether any such environment was

   severe or pervasive or imputable to RBP. Hairston was employed by RBP for only

   two years, and he has testified that in that relatively brief period of time, he was


         5
             RBP has not objected to my consideration of any of Hairston’s testimony on
   hearsay grounds. Nevertheless, it appears that most of the statements Hairston relayed in
   his deposition testimony may be admissible either as statements by a party-opponent or
   for a purpose other than the truth of the matter (namely, to show the effect they had on
   Hairston).
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   repeatedly told about race-based animus and the use of racial epithets by

   supervisors; received an anonymous racially antagonistic and potentially

   threatening phone call; was subjected to race-based jokes; was excluded from

   meetings; and was otherwise treated less favorably than white employees with

   respect to privileges such as use of company cars. If a jury credits this testimony,

   it could reasonably find that all of these events and circumstances combined to

   create a hostile work environment in violation of Title VII and § 1981.

         RBP asserts a so-called Faragher-Ellerth defense, arguing that it is entitled

   to summary judgment because it had policies in place that directed employees to

   report harassment through specific channels and, in its view, Hairston failed to do

   so. See Faragher v. City of Boca Raton, 524 U.S. 775, 807 (1998); Burlington

   Indus., Inc. v. Ellerth, 524 U.S. 742, 765 (1998). Under the Faragher-Ellerth

   doctrine,

         [t]he employer may escape liability if it can demonstrate, by a
         preponderance of the evidence, that (1) it exercised reasonable care to
         prevent and correct promptly any harassing behavior; and (2) the
         plaintiff unreasonably failed to take advantage of any preventive or
         corrective opportunities provided by the employer or to avoid harm
         otherwise.

   Spriggs, 242 F.3d at 186 (internal quotation marks and citations omitted).

         In invoking this defense in support of its summary judgment motion, RBP

   entirely overlooks Hairston’s own unwavering testimony that he did report his

   concerns to his supervisors on several occasions, in accord with the relevant

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   policies. RBP cannot eliminate genuine issues of material fact by simply ignoring

   the plaintiff’s testimony where it contradicts the testimony of RBP’s witnesses.

   Moreover, the record does not contain any evidence that RBP investigated

   allegations of racial animus or harassment during Hairston’s employment. RBP

   points to the fact that it terminated Brown in part because of his use of the word

   “nigger,” but it fails to provide any explanation for why approximately two months

   elapsed between Brown’s comment and his termination.

         Again, I may not weigh evidence or assess credibility at the summary

   judgment stage; that is the province of the jury. On the record before me, I cannot

   conclude that RBP has met its burden of proving its affirmative defense as a matter

   of law. I find that genuine issues of material fact preclude the entry of summary

   judgment on Hairston’s harassment claims, and I will therefore deny the

   defendant’s Motion as to those claims.

                                            IV.

         For the foregoing reasons, it is ORDERED that the Motion for Summary

   Judgment, ECF No. 95, is DENIED.



                                                     ENTER: April 12, 2019

                                                     /s/ James P. Jones
                                                     United States District Judge



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